Case 0:17-cv-60426-UU Document 288 Entered on FLSD Docket 11/05/2018 Page 1 of 9



                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/
                           DEFENDANTS’ MOTION IN LIMINE NO. 3 TO
                      EXCLUDE EVIDENCE OF JOURNALISTIC STANDARDS AND
                            INCORPORATED MEMORANDUM OF LAW
            Defendants BuzzFeed, Inc. and Ben Smith hereby move the Court in limine for an order
  excluding all evidence of journalism standards.
                                     PRELIMINARY STATEMENT
            As the Court is aware, Plaintiffs failed to identify a journalism expert. In an effort to get
  around this gaping hole in their case – and in contravention of this Court’s scheduling orders, the
  Federal Rules of Civil Procedure, and the Federal Rules of Evidence – they instead intend to
  introduce at trial emails and news articles criticizing BuzzFeed’s decision to publish the Dossier.
  This evidence is plainly inadmissible hearsay, it is irrelevant, and its prejudicial effect far
  outweighs any probative value it might somehow have. This Court should therefore exclude it.
                                               ARGUMENT
            The deadline for Plaintiffs’ expert disclosures passed on April 13, more than six months
  ago. See Dkt. 163. Despite claiming that Defendants’ publication of the Dossier was grossly
  irresponsible and negligent, however, Plaintiffs have never identified a journalism expert –
  perhaps because they could not find one willing to support their argument.




                                                      1
  4837-4982-4121v.3 0100812-000009
Case 0:17-cv-60426-UU Document 288 Entered on FLSD Docket 11/05/2018 Page 2 of 9




            First, the evidence would be inadmissible as improper expert opinion evidence offered in
  violation of Fed. R. Civ. P. 26(a)(2) and this Court’s Scheduling Orders. Evidence purporting to
  explain journalism standards to the jury or opine on BuzzFeed’s negligence or gross
  irresponsibility must, as a matter of law, satisfy the requirements for expert evidence in order to
  be admissible. See, e.g., Talley v. Time, Inc., 2018 WL 1101489 (W.D. Okla. Feb. 28, 2018)
  (applying Fed. R. Evid. 702 to proposed evidence on journalistic standards); Parsi v. Daioleslam,
  852 F. Supp. 2d 82, 86‒90 (D.D.C. 2012) (same); cf. Fed. R. Evid. 701 (lay opinion testimony
  inadmissible if based on “specialized knowledge within the scope of Rule 702”). Such evidence
  must comply with the requirements of Fed. R. Civ. P. 26(a)(2), which requires the party offering
  the opinion evidence to disclose information about the expert witnesses it wishes to call and to
  provide a written report from each witness, and the scheduling deadlines set by the Court.
  Courts regularly exclude expert evidence for failure to comply with these requirements. See,
  e.g., Mann v. Taser Int’l, Inc., 588 F.3d 1291, 1310 (11th Cir. 2009); Romero v. Drummond Co.,
  Inc., 552 F.3d 1303, 1323‒24 (11th Cir. 2008); United States v. Marder, 318 F.R.D. 186, 193‒94
  (S.D. Fla. 2016); Point Blank Sols., Inc. v. Toyobo Am., Inc., 2011 WL 13174651, at *1 (S.D.
  Fla. May 6, 2011); see also de Louis v. Metro. Atlanta Rapid Transit Auth., 2007 WL 9700627,
  at *1 (N.D. Ga. Feb. 21, 2007) (excluding evidence that was “necessarily expert evidence” for
  non-compliance with Rule 26(a)(2), even though plaintiff claimed it was lay opinion).



  1
      Plaintiffs identified these exhibits in Exhibit A to the Joint Pretrial Stipulation, Dkt. 237.

                                                       2
  4837-4982-4121v.3 0100812-000009
Case 0:17-cv-60426-UU Document 288 Entered on FLSD Docket 11/05/2018 Page 3 of 9



           Here, of course, Plaintiffs have not complied with any of the requirements of Rule
  26(a)(2), or this Court’s scheduling orders, with respect to this Standards Evidence, and they
  have never even attempted to show good cause for failing to comply – and, as a result,
  Defendants have not had the opportunity to build a case responding to it. Even if it were
  otherwise admissible, then, this evidence should be excluded.
           Second, because Plaintiffs evidently intend to offer these materials for the truth of their
  content (both that the authors really held the views expressed and that those opinions are
  reliable), they amount to inadmissible hearsay. Fed. R. Evid. 802. The law is clear that expert
  opinion can come before the jury only through sworn testimony – even the signed report of a
  qualified expert can be inadmissible at trial on hearsay grounds, see, e.g., Johnston v. Borders,
  2018 WL 4215027, at *1 (M.D. Fla. Sept. 4, 2018) (citing cases), and Plaintiffs’ proposed
  evidence here is far more dubious than that. Courts have in fact consistently held that news
  articles offered for the truth of their contents are inadmissible hearsay, because “[u]nless the
  author is available for cross-examination, ‘newspaper[] stories generally will present a blank face
  that gives little clue as to the reliability of the [author’s] perception, memory, narration, or
  sincerity, and in addition fails to disclose how the article was changed in the editing process.’”
  Crouse v. Allegheny Cty., 2016 WL 6086066, at *6 (W.D. Pa. Jan. 25, 2016) (citation omitted);
  see, e.g., United States v. Michtavi, 155 F. App’x 433, 435 (11th Cir. 2005) (“[A] newspaper
  article is hearsay, and in almost all circumstances is inadmissible.”) (citing Dallas Cty. v.
  Commercial Union Assur. Co., 286 F.2d 388, 392 (5th Cir. 1961)); Baker v. Joseph, 938 F. Supp.
  2d 1265, 1268 (S.D. Fla. 2013) (Ungaro, J.) (newspaper article inadmissible hearsay); Smart v.
  City of Miami, 107 F. Supp. 3d 1271, 1278 n.3 (S.D. Fla. 2015) (“I agree with the City that the
  newspaper articles and web pages are not proper summary judgment evidence because they
  constitute hearsay and it is not apparent how these printouts could be ‘reduced to admissible
  evidence at trial.’”). This means that opinions expressed in articles are inadmissible unless the
  author is called at trial. See, e.g., Powell v. Dallas Morning News L.P., 776 F. Supp. 2d 240, 269
  n.15 (N.D. Tex. 2011) (“Newspaper articles containing the opinions of unrelated third parties are
  inadmissible hearsay.”), aff’d, 486 F. App’x 469 (5th Cir. 2012); Hamilton v. Anderson, 2010
  WL 9540637, at *6 (D.N.M. June 18, 2018) (“Insofar as it offered for the truth of [the author’s]
  opinions … the hearsay objection to the forty-five year old article is sustained.”); Carter v.
  Dawson, 2014 WL 4275477, at *15 (E.D. Cal. Aug. 29, 2014) (sustaining objection to admission


                                                     3
  4837-4982-4121v.3 0100812-000009
Case 0:17-cv-60426-UU Document 288 Entered on FLSD Docket 11/05/2018 Page 4 of 9



  of article “on the grounds of hearsay and that the author of the article … is not qualified to
  express an expert opinion”).
           For the same reasons, emails or tweets commenting on BuzzFeed’s decision to publish
  the Dossier, and the opinions expressed in them, should be excluded if offered for the truth of
  their contents. See, e.g., United States v. Annabi, 2012 WL 489111, at *2 (S.D.N.Y. Feb. 14,
  2012) (describing emails as “rank hearsay,” and noting that if “the author of the emails[] wants
  to make this point to the jury, he will have to get on the witness stand and testify”); Poneman v.
  Nike, Inc., 161 F. Supp. 3d 619, 630 (N.D. Ill. 2016) (holding tweet to be inadmissible hearsay).
  And the SPJ Guidelines are also inadmissible hearsay if offered as authoritative statements of
  journalistic ethics, since Plaintiffs are not calling an expert who will be able to lay a foundation
  for their admissibility. See In re Testosterone Replacement Therapy Products Liab. Litig., 2017
  WL 2313201, at *9 (N.D. Ill. May 29, 2017) (guidelines published by medical association “may
  be presented to the jury for their truth (though not admitted into evidence) under the learned
  treatise exception to the hearsay rule as long as an expert lays the foundation required by Federal
  Rule of Evidence 803(18)”).
           Whether Defendants acted with gross irresponsibility or negligence should be determined
  based on the trier of fact’s sober reflection and, where it is properly offered, the tested and
  reliable evidence of expert witnesses – not tweets and op-eds rushed to publication in the hours
  or days after the events in question and presented to the jury without cross-examination. The
  hearsay rule is designed to prevent the introduction of exactly this type of dubious evidence, and
  the Court should exclude it here.
           Third, Plaintiffs’ proposed Standards Evidence should be excluded under Fed. R. Evid.
  403 as unduly prejudicial, confusing to the jury, and likely to cause unnecessary delay.
           The evidence is prejudicial and confusing because it has some impressive names attached
  to it                                                                        . Just as juries can fall
  into the trap of giving expert testimony “talismanic significance,” United States v. Frazier, 387
  F.3d 1244, 1263 (11th Cir. 2004), this will likely lead the jury to give undue consideration to
  these unsworn statements which were never intended to be presented as expert opinions in court.
  And it will lead the jury to overlook the reasons why such material should be given little if any
  weight. The evidence will not be presented under oath or be subject to cross-examination. The
  articles Plaintiffs seek to put before the jury were published in a news climate that values


                                                    4
  4837-4982-4121v.3 0100812-000009
Case 0:17-cv-60426-UU Document 288 Entered on FLSD Docket 11/05/2018 Page 5 of 9



  provocative opinions, rather than the impartial consideration required of real expert witnesses.
  The documents’ authors will not have been qualified as experts. And, perhaps most
  significantly, at the time of trial, the opinions expressed in these documents will be more than
  two years old. The jury will have no way to know whether the authors even still adhere to the
  views they expressed in the immediate aftermath of the Dossier’s publication, which is a
  particularly pressing concern here in light of the role the Dossier has come to play in public
  discourse since January 10, 2017.
           Moreover, admission of the Standards Evidence will only lead Defendants to introduce
  their own evidence to rebut it – including public and private expressions of support for
  BuzzFeed’s decision to publish the Dossier from other prominent journalists. Not only will this
  prolong the trial and needlessly add to the (already-voluminous) evidentiary record, but it will
  leave the jury facing a classic “battle of experts” without recourse to any of the usual tools (such
  as behavior on cross-examination) that juries can use to decide who to believe.
           Finally¸ if this Court determines that Plaintiffs are public figures, the evidence should be
  excluded because it is irrelevant. Courts consistently have held that evidence of journalism
  standards (by an expert or otherwise) is irrelevant and inappropriate when a jury is asked to
  determine whether a defamation defendant acted with actual malice. See Fed. R. Evid. 401 and
  402. Actual malice requires knowledge of falsity or a subjective awareness by the defendant of
  probable falsity. In other words, “[t]here must be sufficient evidence ... that the defendant in fact
  entertained serious doubts as to the truth of his publication.” St. Amant v. Thompson, 390 U.S.
  727, 731 (1968).
           Any evidence regarding purported journalistic standards is not relevant to any evaluation
  by the jury of Defendants’ state of mind. “[T]he fact that what was done violated a [journalistic]
  rule has no tendency to prove knowing ... falsity.” Westmoreland v. CBS Inc., 601 F. Supp. 66,
  69 (S.D.N.Y. 1984). A plaintiff must prove what was done, and from that the jury may
  determine whether those acts demonstrate that the defendants acted with actual malice. Whether
  Defendants’ acts violated some set of purported journalistic rules is wholly irrelevant. Id.
           Moreover, Plaintiffs cannot offer any articles or emails opining on whether Defendants
  knew the allegedly defamatory statements were false or had a subjective awareness of probable
  falsity when they published the articles. Any speculation by media commentators about this
  issue does not constitute admissible evidence that Defendants entertained serious doubts about


                                                     5
  4837-4982-4121v.3 0100812-000009
Case 0:17-cv-60426-UU Document 288 Entered on FLSD Docket 11/05/2018 Page 6 of 9



  the truth of the allegedly defamatory statements. Furthermore, any opinions regarding
  Defendants’ actions in preparing and publishing the articles are not probative of constitutional
  actual malice. In Brueggemeyer v. American Broadcasting Cos., 684 F. Supp. 452 (N.D. Tex.
  1988), the court was presented with similar so-called expert testimony. The court rejected it,
  observing:
                     Actual malice focuses on knowledge of falsity, a high degree of
                     awareness of probable falsity, or serious doubts as to the truth of a
                     publication. By contrast, the opinions of plaintiff’s expert do not.
                     Her opinion that ABC demonstrated a “reckless disregard” does
                     not pertain to a reckless disregard for truth but, instead, relates to a
                     reckless disregard for a standard of objectivity.

  Id. at 466 (emphasis added); accord OAO Alfa Bank v. Center for Pub. Integrity, 387 F. Supp. 2d
  20, 56 (D.D.C. 2005) (“[R]eliance on expert opinion as to the defendant’s departure from
  journalistic ethics and the ‘standards of investigation’ is unhelpful … in light of the settled law
  closing the door on such evidence for the actual malice inquiry.”); Carr v. Forbes, Inc., 121 F.
  Supp. 2d 485, 496 (D.S.C. 2000) (excluding testimony of plaintiff’s journalism expert because
  the “balance and fairness” doctrine advocated by plaintiff’s experts was inconsistent with the
  actual malice standard), aff’d, 259 F.3d 273 (4th Cir. 2001); Tilton v. Capital Cities/ABC, Inc.,
  938 F. Supp. 751, 753‒54 (N.D. Okla. 1995) (excluding plaintiff’s journalism expert because
  “the testimony would be confusing to the jury, would be a waste of time and would be unfairly
  prejudic[ial] to Defendants”), aff’d, 95 F.3d 32 (10th Cir. 1996); World Boxing Council v. Cosell,
  715 F. Supp. 1259, 1264 (S.D.N.Y. 1989) (rejecting testimony by linguistics expert because,
  among other things, it “would discourage the factfinder from using his own judgment on an issue
  [constitutional actual malice] for which a factfinder is amply suited to make his own judgment”);
  Harris v. Quadracci, 856 F. Supp. 513, 519 (D. Wisc. 1994) (“The [expert’s] affidavit is not
  probative of actual malice because [the expert’s] opinion relates to a reckless disregard for a
  standard of objectivity, not for the truth.”), aff’d, 48 F.3d 247 (7th Cir. 1995); Russell v.
  American Broadcasting Cos., 26 Media L. Rep. (BNA) 1013, 1018 n.8 (N.D. Ill. Sept. 12, 1997)
  (expert opinion based solely on evidence that ABC failed to follow so-called standard
  investigative techniques was inadmissable to prove actual malice; “[e]ven if such an inference
  were appropriate, [the expert’s] opinion would not assist the trier of fact in making this
  determination.”).


                                                        6
  4837-4982-4121v.3 0100812-000009
Case 0:17-cv-60426-UU Document 288 Entered on FLSD Docket 11/05/2018 Page 7 of 9



           Moreover, even if this were admissible evidence about generally accepted standards
  among journalists (which it is not), those standards would be irrelevant in deciding whether
  defendants harbored actual malice. “[A]n extreme departure from professional standards,” even
  when combined with a bad motive, is insufficient to prove constitutional actual malice. Harte-
  Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 665 (1989). In Eastwood v. National
  Enquirer, Inc., for example, the court noted the jury was properly instructed when told, “A
  reckless disregard for the truth requires more than a departure from reasonably prudent conduct.
  Reckless disregard is not shown by sloppy journalism, carelessness, or gross negligence. Even
  an extreme departure from accepted professional standards of journalism will not suffice to
  prove actual malice.” 123 F.3d 1249, 1251 n.3 (9th Cir. 1997). See also Michel v. NYP
  Holdings, Inc., 816 F.3d 686, 703 (11th Cir. 2016) (explaining that “[a]ctual malice requires
  more than a departure from reasonable journalistic standards”); Reuber v. Food Chem. News,
  Inc., 925 F.2d 703, 711 (4th Cir. 1991) (en banc) (it is reversible error to instruct the jury that
  actual malice may be established merely “by showing a departure from accepted journalistic
  practices”) (emphasis added).
           Consequently, any evidence regarding deviations from journalistic standards is not
  probative of whether Defendants acted with actual malice. Schwartz v. Worrall Publ’ns, Inc.,
  610 A.2d 425, 430 (N.J. Super. Ct. 1992) (slipshod editing “did not demonstrate a high degree of
  awareness of probable falsity or serious doubt as to the publication’s truth”); Oweida v. Tribune-
  Review Publ’g Co., 599 A.2d 230, 245 (Pa. Super. Ct. 1991) (holding that it was error to instruct
  jury that it could find malice if defendants clearly departed from “accepted journalistic
  procedures”); Fletcher v. San Jose Mercury News, 216 Cal App. 3d 172, 187 (1989) (testimony
  by plaintiff’s expert, a Stanford journalism professor, that the defendants “failed to follow certain
  accepted journalism practices” did not demonstrate actual malice; “The question we face is
  whether [the reporters] believed the articles were untrue, not whether their reporting practices
  passed [a journalism professor’s] test’).
           Because observations regarding journalistic practices are irrelevant to any determination
  of Defendants’ state of mind, this evidence is irrelevant to actual malice and should be excluded
  on that basis as well.




                                                    7
  4837-4982-4121v.3 0100812-000009
Case 0:17-cv-60426-UU Document 288 Entered on FLSD Docket 11/05/2018 Page 8 of 9



                                                CONCLUSION
           For all these reasons, Defendants request that the Court exclude all of Plaintiffs’ evidence
  on journalism standards.


  Dated: October 29, 2018                  Respectfully submitted,

                                           /s/ Katherine M. Bolger
                                           Katherine M. Bolger
                                           Nathan Siegel
                                           Adam Lazier
                                           Alison Schary
                                           Davis Wright Tremaine LLP
                                           1251 Avenue of the Americas, 21st Floor
                                           New York, New York 10020
                                           katebolger@dwt.com
                                           nathansiegel@dwt.com
                                           adamlazier@dwt.com
                                           alisonschary@dwt.com

                                           /s/ Roy Black
                                           Roy Black
                                           Jared Lopez
                                           Black, Srebnick, Kornspan & Stumpf, P.A.
                                           201 So. Biscayne Boulevard
                                           Miami, Florida 33131
                                           rblack@royblack.com
                                           jlopez@royblack.com

                                           Attorneys for Defendants




                                                    8
  4837-4982-4121v.3 0100812-000009
Case 0:17-cv-60426-UU Document 288 Entered on FLSD Docket 11/05/2018 Page 9 of 9



                                     CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 29th day of October, 2018.



                                                  By: /s/ Adam Lazier
                                                          Adam Lazier




                                             SERVICE LIST

           Matthew Shayefar
           Valentin D. Gurvits
           BOSTON LAW GROUP, PC
           825 Beacon Street, Suite 20
           Newton Centre, Massachusetts 02459
           Telephone: 617-928-1806
           Facsimile: 617-928-1802
           matt@bostonlawgroup.com
           vgurvits@bostonlawgroup.com

           Evan Fray-Witzer
           CIAMPA FRAY-WITZER, LLP
           20 Park Plaza, Suite 505
           Boston, Massachusetts 02116
           Telephone: 617-426-000
           Facsimile: 617-423-4855
           Evan@CFWLegal.com

           Brady J. Cobb
           Dylan Fulop
           COBB EDDY, PLLC
           642 Northeast Third Avenue
           Fort Lauderdale, Florida 33304
           Telephone: 954-527-4111
           Facsimile: 954-900-5507
           bcobb@cobbeddy.com
           dfulop@cobbeddy.com




                                                     9
  4837-4982-4121v.3 0100812-000009
